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                    16   Does
                    17                                 UNITED STATES DISTRICT COURT
                                                     NORTHERN DISTRICT OF CALIFORNIA
                    18
                         COURTNEY MCMILLIAN and RONALD                   Case No. 3:23-cv-03461-TLT
                    19   COOPER,
                                                                         DEFENDANTS’ OPPOSITION TO
                    20                 Plaintiffs,                       PLAINTIFFS’ ADMINISTRATIVE
                                                                         MOTION TO STRIKE REPLY IN
                    21          v.                                       SUPPORT OF MOTION FOR LEAVE
                                                                         TO FILE SUPPLEMENTAL BRIEF
                    22   X CORP., f/k/a/ TWITTER, INC.,
                         X HOLDINGS, ELON MUSK, Does,                    Judge:     Trina L. Thompson
                    23                                                   Magistrate Judge: Robert M. Illman
                                       Defendants.
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MORGAN, LEWIS &
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                            Case 3:23-cv-03461-TLT Document 84 Filed 04/25/24 Page 2 of 2



                     1          Defendants oppose Plaintiffs’ Administrative Motion to Strike Defendants’ Reply in

                     2   Support of Motion for Leave to File Supplemental Brief (Dkt. 83), and respectfully ask that the

                     3   Court consider the Reply (Dkt. 82) and related filings (Dkts. 82-1 through 82-4).

                     4          Defendants filed the Reply on the same day Plaintiffs filed their Opposition to Defendants’

                     5   Administrative Motion for Leave to File Supplemental Briefing in order to respond to Plaintiffs’

                     6   incorrect assertion that “Defendants failed to meet and confer with Plaintiffs” before filing their

                     7   Administrative Motion and address other issues raised by Plaintiffs’ opposition. See Dkt. 81.

                     8   Although Civil Local Rule 7-11(c) provides that a motion for administrative relief is “deemed

                     9   submitted for immediate determination without hearing on the day after the opposition is due,” the
                    10   rule does not (as Plaintiffs suggest) expressly prohibit the filing of a reply, and the Court may

                    11   consider such a reply in its discretion. See, e.g., Tucker v. AstraZeneca Pharm., L.P., 2006 WL

                    12   2092069, at *1 (N.D. Cal. July 26, 2006) (considering reply in support of administrative motion);

                    13   Ingram v. Pac. Gas & Elec. Co., 2013 WL 5340697, at *1 n.1 (N.D. Cal. Sept. 24, 2013) (similar).

                    14          Defendants respectfully ask that the Court deny Plaintiffs’ Motion to Strike, and consider

                    15   the Reply and related filings when deciding Defendants’ Administrative Motion for Leave to File

                    16   Supplemental Briefing.

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                    18   Dated: April 25, 2024                             MORGAN, LEWIS & BOCKIUS LLP
                    19                                                     By /s/ Melissa Hill
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